        CASE 0:19-cr-00104-JNE-TNL Doc. 140 Filed 11/18/19 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                      Criminal No. 19-CR-104(3)(JNE/TNL)

 UNITED STATES OF AMERICA,

                     Plaintiff,
                                                     GOVERNMENT’S
       v.                                            SUPPLEMENTARY
                                                     SENTENCING POSITION
 MASON PAUL STUHLDREHER,                             PLEADING

                     Defendant.


      COMES NOW the United States of America, by and through its undersigned

attorneys, Erica H. MacDonald, United States Attorney for the District of Minnesota, and

Allen A. Slaughter Jr., Assistant United States Attorney, and submits the following

supplemental position with regard to sentencing.

      Defendant Mason Paul Stuhldreher (Defendant) submitted a responsive sentencing

pleading on November 13, 2019. ECF 137. The pleading summarizes the government’s

sentencing positions with regard to each of the four defendants charged in the instant

matter. Id. Then defendant argues that the government has argued unreasonably with

respect to the sentence that should be imposed. Id. Instead, without any argument

supporting variance, he argues for the mandatory minimum sentence of 120 months

imprisonment. Id.

      The government stands by the sentencing arguments proposed for each of the four

defendants in this case. The government argued for a term of 328 months for co-defendant

Hines – the middle of his applicable range – due to his role as DTO wholesaler, the volume
           CASE 0:19-cr-00104-JNE-TNL Doc. 140 Filed 11/18/19 Page 2 of 3




of controlled substances involved, and especially his criminal history. The government

argued for a term of 168 months for co-defendant Aguirre-Rea – the upper end of the

applicable range – due to Aguirre-Rea’s role as a DTO supplier, but combined with his

lack of any prior significant criminal convictions. 1 The government argued for a term of

151 months imprisonment for co-defendant Scrabeck – the lower end of his applicable

range – due to his role as DTO sub-distributor. Contrary to defendant’s arguments,

Scrabeck notwithstanding his greater criminal history score is still perceived as having less

responsibility than defendant. Both the Government’s sentencing position pleading as well

as Scrabeck’s plea terms demonstrate as much. The government again stands by that

assessment, which included conferring with the agents involved in the investigation

overall.

       Meanwhile, on February 9, 2019, when law enforcement intervened and ended the

Hines DTO operation, agents seized the largest percentage of methamphetamine (by far)

from defendant, who had just obtained it from Hines. Furthermore, defendant fled from

law enforcement – putting others into harm’s way. The methamphetamine was thrown from

his vehicle as he tried to evade law enforcement.

       Defendant’s sentencing circumstances are a convergence of factors – not merely his

argued place in a perceived “hierarchy” in this particular DTO. Moreover, each of these

factors are due to defendant’s choices – choices made both on February 9, 2019, as well as



1
 In point of fact, Aguirre-Rea would likely be safety valve eligible (and would be facing
an even lower advisory Guidelines range) but for his choice to unsuccessfully safety valve
proffer.

                                             2
         CASE 0:19-cr-00104-JNE-TNL Doc. 140 Filed 11/18/19 Page 3 of 3




the days, weeks, and years before. His advisory Guidelines range reflects these decisions

and related considerations. Thus, the government’s argument for a mid-Guidelines term of

236 months imprisonment is reasonable when considering the entirety of the § 3553(a)

factors here. 2

       The government respectfully requests a disposition of 236 months imprisonment –

the middle of the applicable Guidelines range – because the circumstances of Defendant’s

offense combined with the remainder § 3553(a) considerations deserve such a term.



Dated: November 18, 2019                       Respectfully,

                                               ERICA H. MacDONALD
                                               United States Attorney

                                               s/ Allen Slaughter
                                               BY: ALLEN A. SLAUGHTER JR.
                                               Assistant U.S. Attorney
                                               Attorney ID Number 301668




2
  Nor can the government’s argued-for sentence cannot be perceived as surprising. The
plea terms to which defendant agreed contemplated even greater potential advisory
Guidelines ranges, specifically between either 235 to 293 months and 292 to 365 months
imprisonment.

                                           3
